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                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF PUERTO RICO
 UNITED STATES OF AMERICA,

 Plaintiff,

 v.
                                                               Crim. No. 16-766-5 (DRD)
 JAVIER AGUIRRE-ESTRADA, ET AL.,

 Defendants.


                                            OPINION AND ORDER

      I.       Introduction

            The United States charged Defendant Javier Antonio Aguirre-Estrada (“Defendant”) with three

counts of conspiracy to defraud Medicare, 18 U.S.C. §1349 and 2. Defendant moved to dismiss two of the

three conspiracy counts, arguing the indictment is fatally multiplicitous because the government improperly

charged one overarching conspiracy as three separate conspiracies. See Docket No. 119. The United States

argues the indictment properly charges three separate conspiracies, as each conspiracy requires proof of

particular facts that distinguish it from the others. See Docket No. 134. For the reasons provided below, the

Court DENIES Defendant’s Motion to Dismiss.

      II.      Analysis

            “A prosecution is multiplicitous when the government charges a defendant twice for what is

essentially a single crime.” United States v. Chiaradio, 684 F.3d 265, 272 (1st Cir. 2012). In times where “a

claim of multiplicity is premised on an indictment alleging several violations of a single statutory provision, an

inquiring court must determine whether there is a sufficient factual basis to treat each count as separate.”

United States v. Stefanidakis, 678 F.3d 96, 100–01 (1st Cir. 2012)(citations omitted). The Court must deny

Defendant’s motion if the face of the indictment contains a sufficient factual basis to treat the conspiracies



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charged in Counts Five, Eleven, and Fourteen as separate offenses. The Court first discusses each count,

its participants, and the allegations contained therein.

                                                 The Charges

        Count Five charges Defendant with conspiring with Codefendants Dante Rodriguez-Rivera

(“Rodriguez-Rivera”), Javier Siverio-Echevarria (“Siverio-Echevarria”), and Carlos Maldonado-Lopez

(“Maldonado-Lopez”) to defraud Medicare by filing six-hundred forty-six (646) fraudulent reimbursement

claims for durable medical equipment. Rodriguez-Rivera, a medical professional, signed and completed the

claims using the names of Medicare beneficiaries with whom Rodriguez-Rivera did not have a doctor-patient

relationship. Defendant then submitted these reimbursement claims on behalf of Equipomed Care Corp., his

employer, and presumptively enjoyed the fruits of his participation in the fraud.

        Count Eleven charges Defendant with conspiring with Codefendants Rodriguez-Rivera, Siverio-

Echevarria, George Alcantara-Cardi (“Alcantara-Cardi”), and Maldonado-Lopez to defraud Medicare by filing

three-hundred seven (307) fraudulent reimbursement claims for durable medical equipment. Like Rodriguez-

Rivera in Count Five, Alcantara-Cardi, a medical professional, signed and completed the claims using the

names of Medicare beneficiaries with whom he had no doctor-patient relationship. Defendant then submitted

the claims for reimbursement to Medicare on his employer’s behalf.

        Count Fourteen charges Defendant with conspiring with Codefendants Rodriguez-Rivera, Siverio-

Echevarria, Martha Nieves (“Nieves”), and Maldonado-Lopez to defraud Medicare by filing ninety-four (94)

fraudulent reimbursement claims. Like Rodriguez-Rivera and Alcantara-Cardi, Nieves, a medical

professional, signed and completed the claims using the names of Medicare beneficiaries with whom she

had no doctor-patient relationship. Defendant then submitted these claims to Medicare.

                                        Multiplicitious Conspiracies

        The beacon guiding the Court’s analysis is the “same evidence” test delineated in Blockburger. See

United States v. Laguna-Estela, 394 F.3d 54, 56–57 (1st Cir. 2005)(“In most double jeopardy cases, courts
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use the ‘same evidence’ test articulated in Blockburger v. United States. . . ”); see also Blockburger v. United

States, 284 U.S. 299, 304 (1932). Generally, the test requires “a determination whether each offense requires

an element of proof that the other does not.” Laguna-Estela, id. (citing United States v. LiCausi,167 F.3d 36,

46 (1st Cir.1999)).

        Courts posed with the question of whether counts are multiplicitous must “ultimately look at the

totality of the circumstances.” United States v. Mangual-Santiago, 562 F.3d 411, 421 (1st Cir. 2009). The

First Circuit has provided a particularized framework for determining whether an indictment charges one

conspiracy or multiple conspiracies: “(a) the time during which the activities occurred; (b) the persons

involved; (c) the places involved; (d) whether the same evidence was used to prove the two conspiracies;

and (e) whether the same statutory provision was involved in both conspiracies.” Id. (quoting United States

v. Gómez-Pabón, 911 F.2d 847, 860 (1st Cir.1990)). Additional factors include, “the existence of a common

goal, evidence of interdependence among the participants, and the degree to which their roles overlap.”

United States v. Alejandro-Montanez, 778 F.3d 352, 359 (1st Cir. 2015); see also United States v. Portela,

167 F.3d 687, 695 (1st Cir. 1999)(discussing the aforementioned factors); and United States v. Sanchez-

Badillo, 540 F.3d 24, 29 (1st Cir. 2008)(same). “The government need not show that each conspirator knew

of or had contact with all other member . . . [n]or need it show that the conspirators knew all of the details of

the conspiracy or participated in every act in furtherance of the conspiracy.” United States v. Soto-Beniquez,

356 F.3d 1, 19 (1st Cir. 2003).

        “Whether the evidence evinces one or multiple conspiracies ‘is a question of fact for the jury and is

reviewed only for the sufficiency of the evidence.’” Alejandro-Montañez, 778 F.3d at 358 (quoting United

States v. Nemi, 579 F.3d 123, 127 (1st Cir. 2009)). However, “courts routinely rebuff efforts to use a motion

to dismiss as a way to test the sufficiency of the evidence behind an indictment’s allegations.” United States

v. Guerrier, 669 F.3d 1, 4 (1st Cir. 2011)(internal citations omitted). Therefore, unless the government makes



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a full proffer of the evidence they will present at trial, the Court cannot accurately assess whether the evidence

supports one or several conspiracies. All the Court has before it at this time is the indictment.

                                       Are the Charges Multiplicitous?

           As alleged in the indictment, the conspiracies took place in a six-year span, from February 2007 to

July 2013. The similarities between the three are obvious—all three invoke the same statutory provision; all

three occurred in Puerto Rico; Equipomed, Inc., facilitated all three conspiracies; and Defendant and

Codefendants Rodriguez-Rivera, Siverio-Echevarria, and Maldonado-Lopez participated in all three

conspiracies. The three remaining codefendants each participated in only one of the conspiracies and the

indictment is silent on whether the defendants that participated in one conspiracy were aware of the existence

of two additional fraudulent schemes.

           The Court presumes that the government will use some of the same items of evidence to prove all

three counts. However, a particular set of fraudulent claims gave rise to each conspiracy. This suggests the

conspiracies ran as independent enterprises that benefitted only those participating in the particular

conspiracy, as opposed to mutually beneficial endeavors. This alone may support a finding multiple

conspiracies. Without the benefit of hearing the evidence adduced at trial, the Court may not reach a definitive

conclusion on that fact and need not do so today. The Court will not dismiss the indictment pursuant to

arguments the government may counter with the evidence at trial.

    III.       Conclusion

           “There is no inflexible rule that the exclusive remedy for multiplicitous counts is election between

them.” United States v. Pires, 642 F.3d 1, 16 (1st Cir. 2011) (citing Ball v. United States, 470 U.S. 856, 864,

105 S.Ct. 1668, 84 L.Ed.2d 740 (1985)). At a later juncture, the Court may ” vacate both the conviction and

the sentence as to all but one count, essentially merging the offending counts.” Id. (citing United States v.

Lilly, 983 F.2d 300, 306 (1st Cir.1992)). Therefore, although the Court DENIES Defendant’s motion (Docket



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No. 119) as presently construed, the Court encourages Defendant to restate his multiplicity argument if the

evidence provided at trial supports only one conspiracy.

IT IS SO ORDERED.

In San Juan, Puerto Rico, this 29th day of August, 2017.

                                                           /s/ DANIEL R. DOMINGUEZ
                                                           DANIEL R. DOMINGUEZ
                                                           U.S. District Judge




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